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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE:         OIL SPILL BY THE OIL RIG                   )      MDL NO: 2179
               “DEEPWATER HORIZON” IN                     )
               THE GULF OF MEXICO, ON                     )      SECTION: J
               APRIL 20, 2010                             )
                                                          )
Relates to: 2:14-cv-657
            Melancon Rimes, LLC et. al.         )     Judge Barbier
            v. Downs Law Group, LLC, et. al.    )     Mag. Judge Currault
                                                )
________________________________________________)_____________________________

  ORDER GRANTING DEFENDANTS’ JOINT MOTION TO DISMISS PLAINTIFFS’
    AMENDED COMPLAINT PURSUANT TO RULE 12(b)(2) AND 12(b)(6) WITH
                          PREJUDICE

         Considering the Defendants’ Joint Motion to Dismiss Plaintiffs’ Amended Complaint

pursuant to Rule 12(b)(2) and (12)(b)(6),

       IT IS ORDERED that the Motion is GRANTED with Prejudice.

       New Orleans, Louisiana, this _____ day of ___________________, 2022.



                                     _______________________________________
                                     HONORABLE CARL J. BARBIER
                                     U.S. DISTRICT JUDGE


cc: All Counsel of Record
